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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


SAWAT KHAN,                      :
                                 :
          Petitioner,            :
                                 :
     v.                          : Civil Action No. 05-1491 (JR)
                                 :
GEORGE W. BUSH, President of the :
United States, et al.,           :
                                 :
          Respondents.           :

                                  ORDER


          Respondents’ motion for a stay [2] is granted.

Petitioner having submitted himself to the jurisdiction of this

Court, and the Court having asserted in personam jurisdiction,

see Rasul v. Bush, 124 S.Ct. 2686 (2004), the stay will apply to

all proceedings applicable to the petitioner, including without

limitation his release, repatriation, or rendition, and it will

remain in effect until further order of the Court.




                                        JAMES ROBERTSON
                                  United States District Judge
